
Mr. Justice ThacheR
delivered the opinion of the court.
This was an indictment for larceny, preferred against Charles Covey by the grand jury of Warren county. The defendant below pleaded not guilty, and the jury found a verdict of guilty, as charged in the indictment. Upon being brought to the bar for sentence, the defendant pleaded in arrest of judgment, and assigned the following reasons, to wit, first, because the court, *575from inspection of the defendant, will find that he is a descendant from the African race, and therefore prima fade a slave; second, because the indictment does not correctly describe the person of the defendant as a slave or a free man of color, and is therefore defective; third, because the court cannot pronounce the judgment of the law upon a slave; fourth, because there was no evidence upon the trial, rebutting the presumption of law that the defendant was a slave.
A motion in arrest of judgment is confined to defects apparent upon the face of the record itself, and which make the proceedings apparently erroneous ; and therefore no defect’in evidence, or improper conduct on the trial can be urged under this motion. 1 Chit. C. L. 661; Barbour’s C. T. 330. The grounds upon which the motion in arrest of judgment in this case is made, have clearly reference to matters dehors the record, and even if the motion was improperly overruled upon their intrinsic merits, which is very questionable, it was rightly overruled upon the-genera] principles of law governing such motions.
Judgment affirmed.
